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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                         CRIMINAL ACTION
VERSUS                                           NO. 08-140

BETTY JEFFERSON                                  SECTION "B” (1)
ANGELA COLEMAN
MOSE JEFFERSON
RENEE GILL PRATT

                                ORDER AND REASONS

      On December 16, 2009 the Court heard Oral Argument on Betty

Jefferson’s Motion to Sever(Rec. Doc. No. 207), Betty Jefferson’s

Motion to Dismiss the Superceding Indictment(Rec. Doc. No. 208),

Mose Jefferson’s Motion to Dismiss Superseding Indictment (Rec. Doc.

No. 230), Mose Jefferson’s Second Supplemental Motion to Dismiss

(Rec. Doc. No. 274), and Renee Gill Pratt’s Motion to Sever (Rec.

Doc. No. 253, 291).1     After review of the pleadings, applicable law,

and oral argument of the parties, and for oral reasons given and for

the reasons that follow,

      IT IS ORDERED that Mose Jefferson’s First Supplemental Motion

to Dismiss is Denied.(Rec. Doc. 119)

      IT IS FURTHER ORDERED that Defendant Mose Jefferson’s Second

Supplemental Motion to Dismiss is DISMISSED as moot due to the

recently   filed   Second    Superceding     Indictment     that    deleted       the

      1
        Defendant Angela Coleman adopts all the above-mentioned motions of her
co-defendants. Rec. Doc. No. 286. Therefore the instant Order and Reasons
shall apply to this defendant.

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“Honest Services Fraud” charges.

     It IS FURTHER ORDERED that Betty Jefferson’s Motion to Dismiss

is DENIED.

     It IS FURTHER ORDERED that Defendant Betty Jefferson’s Motion

to Sever is DENIED.

     IT IS FURTHER ORDERED that Defendant Renee Gill Pratt’s Motion

to Dismiss and Sever is DENIED.

                                 BACKGROUND

     Defendants Betty Jefferson, Angela Coleman, and Mose Jefferson

operated   various   non-profit     and     for-profit     organizations       that

received   grant   monies    from   the   State     of   Louisiana,     the    U.S.

Department of Education (“DOE”), and the U.S. Department of Housing

and Urban Development (“HUD”).       Both the State of Louisiana and DOE

grants were offered to non-profits for charitable and education

purposes, while HUD provided housing assistance and federal grants

to non-profits for improvements of multi-family dwellings for the

elderly. Defendant Betty Jefferson was the president of the board

of directors of Greater St. Stephen Manor, Inc. (“Greater St.

Stephen”),   a   Louisiana     non-profit    corporation      which    owned      and

operated a forty-one unit elderly apartment complex located in New

Orleans and operating under § 202.          Betty Jefferson also controlled

non-profits Care Unlimited, Inc. (“CU”) and Central City Adult

Education Agency, Inc. (“Central City”) and controlled and operated


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various for-profit La. companies that the Government alleges were

used by Defendant Betty Jefferson to transfer money from the non-

profits to Defendants and others.            Betty Jefferson was also the Tax

Assessor for the 4th Municipal District, Orleans Parish since May

1998.

        Ms. Jefferson’s daughter, Defendant Angela Coleman, was the

president of the board of CU and also owned and operated La. for-

profit companies.      Mose Jefferson was chairman of the board of the

non-profit Orleans Metropolitan Housing & Community Development,

Inc.    (“Orleans    Metro”)     and,   in    that   capacity,     caused    grant

applications to be submitted and agreements to be signed with the

state. Defendant Mose Jefferson controlled the following for-profit

Louisiana companies that the Government alleges received money and

benefits from the Defendants’ controlled non-profits: Southwind

Consultants Inc., and Southwind Consultants, LLC (collectively

“Southwind”),       Enterprise     Consultants,       Inc.     and    Enterprise

Consultants, LLC (collectively “Enterprise”), and B.E.P. Consulting

Services, LLC (“B.E.P.”).         Southwind purchased a building complex

at 3313 S. Saratoga St., New Orleans from Orleans Metro in June 2002

and used the property to receive rental payments from several non-

profits.    Mose Jefferson and his for-profit companies also operated

and received rental payments from an apartment complex located at

2712-2716 Loyola Ave., New Orleans, also known as “Mose Manor.”

Enterprise and B.E.P. operated out of both 3313 S. Saratoga and Mose

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Manor.

      On June 4, 2008, the grand jury returned an indictment against

Defendants Betty Jefferson, Angela Coleman, and Mose Jefferson,

alleging that Defendants conspired to defraud the DOE, HUD, and the

State of Louisiana out of funds that the state and federal agencies

provided to the non-profits controlled by Defendants for charitable

and educational purposes, diverting some of the funds for their

personal   benefit.      The     indictment       also      included         charges   of

conspiracy to commit mail fraud and program fraud, aggravated

identity theft, program fraud, mail fraud, false statements, tax

evasion, and conspiracy to commit money laundering. On May 22, 2009,

the   grand   jury    returned     the       thirty-four        count        superseding

indictment, which charges the three previous Defendants, Betty

Jefferson,    Mose   Jefferson,    and       Angela     Coleman,       and   additional

Defendant Renee Gill Pratt with conspiracy to violate the Racketeer

Influenced and Corrupt Organizations Act (“RICO”) in violation of

18 U.S.C. § 1962(d), specifically alleging that Defendants through

their various non-profit and for-profit entities and political

positions engaged in a pattern of racketeering activity for the

“primary purpose of exercising and preserving power over and within

the Government of the State of Louisiana, the City of New Orleans,

Orleans Parish, and elsewhere, for the financial and political

benefits of defendants.”

      On December 18, 2009 the Grand Jury returned the present

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Second Superceding Indictment (Rec. Doc. No. 296)which charges Renee

Gill Pratt with Count One only, the RICO conspiracy in violation of

18 U.S.C. § 1962(d).     In addition to the Count 1 RICO conspiracy,

Mose Jefferson, Betty Jefferson, and Angela Coleman are charged with

mail fraud (18 U.S.C. § 1341) in Count 10.                  Mose Jefferson is

charged with a second count of mail fraud in Count 11 and with false

statements (18 U.S.C. § 1001) in Counts 28, 29. The majority of the

charges are against Betty Jefferson and Angela Coleman. In addition

to the Count 1 conspiracy and Count 10 mail fraud, both Betty

Jefferson and Angela Coleman are also charged with mail fraud (18

U.S.C. § 1341) in Counts 2-9 and 11, aggravated identity theft (18

U.S.C. § 1028A) in Counts 15-24, money laundering and conspiracy to

commit    money   laundering   (18   U.S.C.   §    1956)    in     Count   27,     and

conspiracy to defraud (18 U.S.C. § 371) in Count 34.                   The Second

Superceding Indictment also charges Betty Jefferson with mail fraud

in Counts 10-14, money laundering and conspiracy to commit money

laundering in Count 26, and income tax evasion (26 U.S.C. § 7201)

and conspiracy to evade income tax in Counts 30-33.                Angela Coleman

is also charged with conspiracy to evade income tax.

                                DISCUSSION

     1.    Defendant Mose Jefferson

     Defendant Mose Jefferson in his first and second

Supplemental Motion to Dismiss the Superceding Indictment argues

that the Superceding Indictment should be dismissed because of

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the Government’s bad faith and unprecedented interference with

the defendant’s sixth amendment right to retain and pay counsel.2

Mose Jefferson’s second argument is that the “I Can Learn” part

of the RICO count should be dismissed on double jeopardy grounds

as the “I Can Learn” transaction was a part of the case tried

before Judge Lemmon in Criminal Action Number 08-085.              In the

instant case, the RICO count charges that Mose Jefferson and

Renee Gill Pratt during and within the same time period conspired

with regard to the “I Can Learn” software.          The Government should

not be given a second bite at the apple.          The Government argues

that the defendant has raised the issue of double jeopardy

repeatedly in this case.        The Court has reviewed motions from

Mose Jefferson as well as responses to the motions from the

Government and found no need to strike, sever, or dismiss on

double jeopardy grounds. Rec. Doc. No. 238 at 24.               In the First

Supplemental Motion the Defendant presents no new reasoning or

argument to refute the Court’s prior rulings.           The Court adheres

to its prior rulings on these issues in Record Document 238.

Importantly, the “I Can Learn” transactions in the prior trial

involved conduct between Mose Jefferson and Stacy Simms.               The

instant charges relative to that program are based upon

independent and materially different factual scenarios involving


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       This argument has been addressed in this Court’s Order, Record Document
Number 258.

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Mose Jefferson and Renee Gill Pratt.

      In Mose Jefferson’s Second Supplemental Motion to Dismiss he

argues that Counts, 1, 10, and 11 of the superseding indictment

should be dismissed because these counts are predicated upon the

alleged violation of the honest services prong of the mail fraud,

that is 18 U.S.C. § 1346 due to recent pending cases in the

Supreme Court of the United States of America.3            The Government

argues that the charges against defendant Mose Jefferson and the

other defendants are not exclusively reliant upon the honest

services fraud statute and because the Court is more than capable

of properly instructing the jury in such a manner that would

wholly obfuscate the need for re-trial, even assuming a Supreme

Court ruling unfavorable to the honest services fraud statute.

Recently, the Government has filed the Second Superceding

Indictment on December 18, 2009 (Rec. Doc. No. 296)completely

omitting any reference to the Honest Services prong of               18 U.S.C.

§ 1346.    Defendant’s motion is thus moot by this recent

occurrence.

      2.   Defendant Betty Jefferson

      Before the Court is Defendant Betty Jefferson’s Motion to

Dismiss, and Sever. Rec. Doc. Nos. 207, 208.            Betty Jefferson’s



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        Weyhrauch v. U.S., United States Supreme Court, Docket Number 08-1196
(2009); Black v. U.S., United States Supreme Court, Docket Number 08-876
(2009).

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motion to dismiss contends there are 3 ground for dismissal (1)

the grand jury which returned the superseding indictment was

improperly impaneled, (2) the return of the Superseding

Indictment was an abuse of the grand jury, and (3) the Government

was being vindictive in seeking the Superseding Indictment.               Rec.

Doc. No. 208.   Betty Jefferson’s Motion to Sever seeks to sever

Count 1, Count 28, and 29, and Counts 30 through 34 from the

Superseding Indictment.        Rec. Doc. No. 207.    These motions are

opposed.   Rec. Doc. Nos. 234, 235.       The Court finds that the

Motion to Dismiss is Denied and the motion to Sever is Denied.

           A. Motion to Dismiss

     Defendant Betty Jefferson argues that (1)the Superseding

Indictment was used to bolster the original indictment, (2) the

Superseding indictment did not present any new allegations that

were not known or should have been reasonably known by the grand

jury, (3) the Superseding indictment in the present case far

exceeds cosmetic changes by adding new acts such as a tax

conspiracy count.    Defendant further argues that the changes made

in the superseding indictment changed the operative date of the

conspiracy and added to the alias along with adding entirely new

predicate acts, plus a tax conspiracy count.

     Defendant argues that the Government is in violation of its

own rules, specifically, Attorney Manual Section 9-11.120 states

that “the grand jury cannot be used for pre-trial discovery or

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trial preparation.”

     However, the Defendant never expounds upon this argument or

offers how the Government used the grand jury for this improper

purpose.   The only fact the Defendant appears to rely on is that

the Government called for a new Grand Jury at a late stage of the

proceedings.   The Defendant cites to U.S. v. Apperson, 441 F.3d

1162, 1189 (10th Cir. 2006), for the proposition that if the

Government merely makes cosmetic changes to the Superseding

Indictment, then it is permissible, but any major substantive

changes unduly strengthen the prosecutor’s case and is considered

an abuse of the grand jury system.

     The Tenth Circuit states that “generally prejudice of some

kind must be shown to warrant the dismissal of an indictment. Id.

at 1189-90.    The Defendant has not shown how she has been

prejudiced by this Superseding Indictment.         In addition, in U.S.

v. Philips, the Fifth Circuit stated that “this court will

dismiss the indictment only upon a showing that there was such an

abuse of the grand jury process that any substantial rights of

the Defendant were impaired or the integrity of the process

impugned. 664 F.2d 971, 1044 (5th        Cir. 1981). In addition, the

attorney manual further states, “after indictment the grand jury

may be used if its investigation is related to a superseding

indictment of additional defendants or additional crimes by an

indicted defendant,” which is what happened in this present case

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as the Superseding Indictment involves both additional defendants

and additional crimes by indicted defendants.

     In response to the argument that the Government was being

vindictive in seeking the superseding indictment the Defendant

cites several cases stating the well known proposition that “it

is improper to use the grand jury for the primary purpose of

strengthening the Government’s case on a pending indictment or as

a substitute for discovery, although this may be an incidental

benefit. See e.g. United States v. Beasley, 550 F.2d 261, 266

(5th Cir. 1977).    The Defendant argues that in this case, the

Government knew of the three predicate acts and the identity of

Defendant Renee Gill Pratt, and her involvement.               The Defendant,

however, does not present any evidence to support its allegation

other than “it is clearly shown in the separate Mose Jefferson

Indictment, filed on April 2, 2008"       but does not direct this

court to any supporting evidence, specifically where in the

indictment.   Rec. Doc. No. 234, p. 7.

     In Blackledge v. Perry, 417 U.S. 21 (1974), there is a

presumption of vindictiveness when the Government presents a

superseding indictment for the purpose of punishing a Defendant

for exercising a procedural right.        However, the Court was

referring to actions taken post-trial.        In addition, in United

States v. Goodwin, 457 U.S. 368 (1982), the Court refused to

impose a presumption of vindictiveness when new charges are added

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at the pre-trial stage.        Moreover, the Fifth Circuit in U.S. v.

Philips, also found that the Government’s decision to charge the

Defendant in the Superseding Indictment with two counts not

contained in the original indictment was not an act of vindictive

prosecution.    664 F.2d 971, 1019 (5th        Cir. 1981).

      However, the Court, in an abundance of caution, ordered on

October, 23, 2009 that the Government produce to the Court for an

in camera review (1) a summary of the new evidence the Government

obtained since the Original Indictment that lead to the

Superseding Indictment, (2) to what extent, if any, the Grand

Jury was informed that they were considering a Superseding

Indictment and not an Original Indictment.           Rec. Doc. No. 251.

The Court, after conducting an in camera review of the requested

information, found that the Government did not abuse the grand

jury and was not being vindictive in seeking the superseding

indictment, and the jury was not improperly paneled.4

            B. Motion to Sever

      Betty Jefferson’s Motion to Sever seeks to sever Count 1,

Count 28 and 29, and Counts 30 through 34 from the Superseding

Indictment.    Rec. Doc. No. 207.

      (a) Count I- RICO Claim:


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         The material the Government produced for the in-camera review will be
filed separately under seal for later court review.

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     Betty Jefferson argues that the RICO claim should be severed

because the Superseding Indictment alleges an improper enterprise

under RICO law and the allegations described in the Superseding

Indictment do not involve Betty Jefferson, and that the

Superseding Indictment has alleged multiple conspiracies.              First,

this Court’s October 8, 2009 Order (Rec. Doc. No. 238), concludes

that the Superseding Indictment alleges all facts necessary to

allege an improper enterprise.       Rec. Doc. No. 238, pp. 20-22.

     Further, the multiple conspiracies argument was also alleged

by Mose Jefferson and was exhaustively analyzed in the Court’s

October 8, 2009 Order (Rec. Doc. No. 238, Pp. 7-23) finding that

whether multiple conspiracies were mistakenly alleged is a

question of fact for the jury. This Court finds that Defendant,

Betty Jefferson’s request for severance as to Count I is without

merit.

     (b) Counts 28 and 29 False Statements:

     The Defendant seeks to sever Counts 28 and 29 because the

jury may not be able to separate the false statements charged

against Mose Jefferson from Betty Jefferson, his sister with the

last name.   Defendant bears a heavy burden to demonstrate that

the denial of severance would lead to a “clear substantial

prejudice resulting in manifestly unfair trial.           United States

v.Urban, 404 F.3d 754, 775 (3d Cir. 2005).          The Defendant has not


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achieved this burden in her motion to sever Counts 28 and 29.                  A

jury instruction will cure this defect. See United States v.

Krenning, 93 F.3d 1257, fn 15 (5th Cir. 1996).

     (c) Severance of Counts 30-34 Tax Counts:

     Defendant argues that Counts 30-34 should be severed because

they were improperly joined under Rule 8 and that the inclusion

of the tax offenses are prejudicial to her under Rule 14.              The

Count finds, at this time that the tax counts are not properly

joined under Rule 8(a).

     Defendant Betty Jefferson brings this Motion to Sever

wherein she contends that Counts 30 through 34 (collectively, the

“Tax Counts”) should be severed from the rest of the Counts in

the Indictment because the former involve tax charges that are

wholly unrelated to the other counts involving RICO Conspiracy,

fraud, and money laundering.       Defendant argues that joinder of

the counts is improper under Rule 8(a) of the Federal Rules of

Criminal Procedure or, alternatively, that joinder would result

in unfair prejudice such that severance under Rule 14 of the

Federal Rules of Criminal Procedure would be appropriate.

Rule 8(a) of the Federal Rules of Criminal Procedure provides the




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following:

     (a) Joinder of Offenses: The indictment or information may

     charge a Defendant in separate counts with 2 or more

     offenses if the offenses charged-whether felonies or

     misdemeanors or both-are of the same or similar character,

     or are based on the same act or transaction, or are

     connected with or constitute parts of the same common scheme

     or plan.

     Fed.R.Crim.P. 8(a).

     Defendant contends that the Tax Counts have no relationship

to the remaining counts because the factual circumstances

underlying the two sets of counts are essentially unrelated and

do not relate to each other. Specifically, Defendant maintains

that the Government fails to allege in the tax counts the amount

of the unlawful income described in the non-tax counts, which was

not reported on Defendant’s tax returns, and the corresponding

tax loss.    The joinder is also problematic because the fact that

Defendant filed a tax return for each of these years is separate

and apart from the non-tax charges, does not have to be proven by

the Government to sustain its burden under the non-tax charges,

and is an extrinsic, extraneous fact that may unduly sway and

prejudice the jury against Defendant by alleged tax deficiencies.

     The Government, on the other hand, argues that joinder of

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the tax and non-tax offenses in the Superseding Indictment is

proper because the Defendant is charged with intentionally not

including in her personal tax returns money corruptly and

illegally obtained funds she is alleged to have obtained in the

previous pages of the Superseding Indictment.           Rec. Doc. No. 107,

pp. 61-68.

     The Fifth Circuit has recognized that Rule 8(a) is to be

construed broadly in favor of initial joinder. U.S. v. Butler,

429 F.3d 140, 146 (5th Cir.2005) (citing United States v.

Fortenberry, 914 F.2d 671, 675 (5th Cir.1990)); see also U.S. v.

Mays, 466 F.3d 335, 340 (5th Cir.2006)(court held “transactional

relationship between charges [was] particularly strong” and

joinder was proper where drugs, firearms, and ammunition were

found pursuant to the same search warrant). Moreover, “[The

Fifth] Circuit has also recognized that the transaction

requirement in Rule 8 is flexible, holding that such a

transaction ‘may comprehend a series of many occurrences,

depending not so much upon the immediateness of their connection

as upon their logical relationship.” Id. (quoting United States

v. Park, 531 F.2d 754, 761 (5th Cir.1976)).

     On October 8, 2009, the Court denied Mose Jefferson’s Motion

to Sever the tax counts.       Rec. Doc. 238. In the instant matter,

The Court finds that the Defendant raises no new issues, law, or


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argument in her Motion to Sever.          For the same reasons

given in the Court’s previous order (Rec. Doc. No. 238) Betty

Jefferson’s Motion to Sever is DENIED.          The Court finds that the

tax offenses are not so confusing or prejudicial to the other

counts of the indictment, and thus a jury should not need to

consider them at a separate trial.

     3.   Defendant Renee Gill Pratt

     Defendant Renee Gill Pratt is named as a Defendant in only

Count 1, the Rico Conspiracy, along with co-Defendants Mose

Jefferson, Betty Jefferson, and Angela Coleman.            Renee Gill Pratt

has filed a Motion to Sever.       Rec. Doc. Nos. 267, 290.           Renee

Gill Pratt contends that Rule 14 of the Federal Rules of Evidence

authorizes the district court to sever a Defendant for trial

“[i]f it appears that a Defendant... is prejudiced by a joinder

of ... Defendants.”     In this instant matter, Renee Gill Pratt

contends that no limiting instruction will adequately protect her

from the spillover effect of the mounts of incriminating

testimony to be adduced against her co-Defendants.              The

Government asserts that the risk of a spillover effect or

prejudicial impact is non-existent in this matter.              The Fifth

Circuit summarized its view on prejudice by finding that,

“[u]ltimately... the inquiry regarding prejudice is whether the

jury can ‘keep separate the evidence that is relevant to each


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Defendant and render a fair and impartial verdict as to him[.].

United States v. Diaz-Munoz, 632 F.2d at 1337.

     Defendant Renee Gill Pratt has previously joined Defendant

Mose Jefferson’s Motion to Sever.         She also filed a seven (7)

page memorandum in support of Defendant Mose Jefferson’s Motion

to Sever, which this Court considered in denying the Motion.               See

Rec. Doc. No. 155 and 238.      The Court finds that the Defendant

raises no new issues, law, or argument in her latest Motion to

Sever.   For the same reasons given in the Court’s previous order

(Rec. Doc. No. 238) Renee Gill Pratt’s Motion to Sever is DENIED.

     New Orleans, Louisiana, this 4th day of January, 2010.




                                          ________________________________
                                          UNITED STATES DISTRICT JUDGE




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